   Case 2:18-cv-02523-WDK-MRW Document 76 Filed 05/14/19 Page 1 of 3 Page ID #:6695

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            May 14, 2019


       No.:              19-55555
       D.C. No.:         2:18-cv-02523-WDK-MRW
       Short Title:      Holly Odd v. Delta Air Lines, Inc., et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
Case 2:18-cv-02523-WDK-MRW Document 76 Filed 05/14/19 Page 2 of 3 Page ID #:6696




                     UNITED STATES COURT OF APPEALS
                                                                        FILED
                             FOR THE NINTH CIRCUIT
                                                                        MAY 14 2019
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS




    HOLLY ODD,                                 No. 19-55555

                 Plaintiff - Appellant,
                                               D.C. No. 2:18-cv-02523-WDK-MRW
     v.                                        U.S. District Court for Central
                                               California, Los Angeles
    DELTA AIR LINES, INC., a
    corporation; DELTA FAMILY-                 TIME SCHEDULE ORDER
    CARE DISABILITY AND
    SURVIVORSHIP PLAN, an ERISA
    plan,

                 Defendants - Appellees.



  The parties shall meet the following time schedule.

  If there were reported hearings, the parties shall designate and, if necessary, cross-
  designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
  hearings, the transcript deadlines do not apply.

   Tue., May 21, 2019            Mediation Questionnaire due. If your registration for
                                 Appellate ECF is confirmed after this date, the
                                 Mediation Questionnaire is due within one day of
                                 receiving the email from PACER confirming your
                                 registration.
   Wed., June 12, 2019           Transcript shall be ordered.
   Fri., July 12, 2019           Transcript shall be filed by court reporter.
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   Wed., August 21, 2019      Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
   Fri., September 20, 2019   Appellees' answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

  The optional appellant's reply brief shall be filed and served within 21 days of
  service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

  Failure of the appellant to comply with the Time Schedule Order will result in
  automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT

                                              By: John Brendan Sigel
                                              Deputy Clerk
                                              Ninth Circuit Rule 27-7
